Case 2:05-cr-00203-FVS   ECF No. 46   filed 11/22/06   PageID.79 Page 1 of 6
Case 2:05-cr-00203-FVS   ECF No. 46   filed 11/22/06   PageID.80 Page 2 of 6
Case 2:05-cr-00203-FVS   ECF No. 46   filed 11/22/06   PageID.81 Page 3 of 6
Case 2:05-cr-00203-FVS   ECF No. 46   filed 11/22/06   PageID.82 Page 4 of 6
Case 2:05-cr-00203-FVS   ECF No. 46   filed 11/22/06   PageID.83 Page 5 of 6
Case 2:05-cr-00203-FVS   ECF No. 46   filed 11/22/06   PageID.84 Page 6 of 6
